 Case: 1:17-md-02804-DAP Doc #: 5659 Filed: 09/30/24 1 of 3. PageID #: 646601




                         UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

 IN RE: NATIONAL PRESCRIPTION                    MDL No. 2804
 OPIATE LITIGATION
                                                 Case No. 1:17-md-2804-DAP
 THIS DOCUMENT RELATES TO:
                                                 Judge Dan Aaron Polster
 Cleveland County v. Purdue Pharma, L.P. et
 al., No. 1:18-op-45304-DAP


   PBM DEFENDANTS’ OPPOSITION TO MOTION OF PLAINTIFF CLEVELAND
   COUNTY TO CORRECT INADVERTENT OMISSION AND JOIN IN OMNIBUS
    MOTIONS FOR LEAVE TO AMEND TO ADD KVK-TECH, INC. [ECF 5552],
      EXPRESS SCRIPTS, INC. [ECF 5548], AND OPTUMRX, INC. [ECF 5547]

       OptumRx, Inc. and Express Scripts, Inc. (the PBM Defendants) submit this joint

opposition to Cleveland County’s motion to join the PEC’s omnibus motions for leave to amend.

ECF No. 5655. Nearly six years after the CMO’s deadline for motions to amend passed, MDL

Plaintiffs were given a “final opportunity to amend their complaints” to add new defendants. ECF

No. 5455 at 2 (Final Amendment Order); see ECF No. 5656 (clarifying that “the Final

Amendment Order did set forth the ‘last chance’ procedures for any MDL plaintiff to amend a

complaint to add a defendant”) (emphasis in original). But that opportunity had a deadline: July

30, 2024 (after the Court twice extended the deadline). See ECF Nos. 5455, 5522, 5545. Cleveland

County missed that deadline.

       Cleveland County did not (1) include a copy of the authorization form that it claims it

“timely submitted” to the PEC or (2) submit an affidavit or other evidence showing that it

submitted a completed authorization form to the PEC before the deadline. Nevertheless, Cleveland

County says that it should be excused from the Court’s deadline because of a scrivener’s error,

claiming it “inadvertently failed to check three boxes” on the PEC’s authorization form. ECF No.
    Case: 1:17-md-02804-DAP Doc #: 5659 Filed: 09/30/24 2 of 3. PageID #: 646602




5655 at 2. The PEC form includes instructions in red, bold, capitalized text: “PLEASE READ

THIS FORM CAREFULLY AND CHECK THE APPROPRIATE BOXES.” ECF No.

5655-1. Cleveland County did not follow those instructions. The PEC form also includes an

acknowledgement that the submitting plaintiff “understand[s] that the PEC will not add the above-

captioned Plaintiff to any motion seeking leave to amend for any defendant that is not listed

within this form.” Id. (emphasis added). If Cleveland County submitted a form to the PEC that did

not list the PBM Defendants, it cannot now be added to “any motion seeking leave to amend.” See

ECF No. 5656 (confirming that, pursuant to the Final Amendment Order, the Court “will not allow

any further amendments by any MDL plaintiff to add a new defendant”).

        Instead, two months after the motions to amend were filed, Cleveland County asks this

Court to ignore its own directive (and the Rules of Civil Procedure and Sixth Circuit precedent*)

to grant it leave to join the motions for leave to amend, claiming that its addition is “marginal” and

will have “virtually no impact.” ECF No. 5655 at 4. But it is not the PBM Defendants’ burden to

demonstrate prejudice from Cleveland County’s failure to follow this Court’s mandated process.

And Cleveland County’s claim that it “failed to check three boxes” is hard to take seriously when

the form itself has only seven boxes and multiple warnings about the consequences of the failure

to check the appropriate boxes.

        In any event, the PBM Defendants will suffer prejudice if Cleveland County is permitted

to belatedly move to amend its complaint to add the PBM Defendants. Cleveland County discounts

the burden on the PBM Defendants in opposing the omnibus motions for leave to amend. The

Rules of Civil Procedure, the Sixth Circuit precedent, and this Court demand an individual review



*
  In their opposition to the omnibus motions for leave to amend, the PBM Defendants will address
the MDL Plaintiffs’ and the PEC’s failures under the law of this case, the Rules of Civil Procedure,
and Sixth Circuit precedent as well as the prejudice resulting from the motions for leave to amend.

                                                  2
  Case: 1:17-md-02804-DAP Doc #: 5659 Filed: 09/30/24 3 of 3. PageID #: 646603




and analysis of every case in which a plaintiff seeks to amend its complaint to add the PBM

Defendants. Fed. R. Civ. P. 16(b)(4); In re Nat’l Prescription Opiate Litig., 956 F.3d 838, 845 (6th

Cir. 2020) (“[A] district court’s decision whether to grant a motion to amend in an individual case

depends on the record in that case and not others.”); ECF No. 5471, May 22, 2024 Hr’g. Tr., at

17:25–18:3 (requiring a case-by-case showing of good cause for any plaintiff seeking leave to

amend). The addition of yet another plaintiff, more than two months into the briefing period, would

prejudice the PBM Defendants in their ability to oppose Cleveland County’s motion for leave.

       The Court’s Final Amendment Order was clear: “This will be plaintiffs’ final opportunity

to amend their complaints.” ECF No. 5455 at 2. The Court “will not allow any further amendment

by any MDL plaintiff to add a new defendant.” ECF No. 5656 at 3. Cleveland County missed its

“final opportunity” to seek leave to amend and add parties. Its motion must be denied.


Dated: September 30, 2024

/s/ Brian D. Boone                               /s/ Jonathan G. Cooper
Brian D. Boone                                   Mike Lyle
ALSTON & BIRD LLP                                Jonathan G. Cooper
Vantage South End                                QUINN EMANUEL URQUHART &
1120 South Tryon Street, Suite 300               SULLIVAN, LLP
Charlotte, NC 28203                              1300 I St. NW, Suite 900
Tel: (704) 444-1000                              Washington, DC 20005
brian.boone@alston.com                           Tel: (202) 538-8000
                                                 mikelyle@quinnemanuel.com
William H. Jordan                                jonathancooper@quinnemanuel.com
ALSTON & BIRD LLP
1201 West Peachtree Street NW, Suite 4900        Sage R. Vanden Heuvel
Atlanta, GA 30309                                QUINN EMANUEL URQUHART &
Tel.: (404) 881-7000                             SULLIVAN, LLP
bill.jordan@alston.com                           865 S. Figueroa St. Floor 10
                                                 Los Angeles, CA 90017
Attorneys for Defendant OptumRx, Inc.            Tel: (213) 443-3000
                                                 sagevandenheuvel@quinnemanuel.com

                                                 Attorneys for Express Scripts, Inc.


                                                 3
